Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 1 of 8




          EXHIBIT B
Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 2 of 8
                     Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 3 of 8




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19827046
Notice of Service of Process                                                                            Date Processed: 05/20/2019

Primary Contact:           Beth Krause
                           Fiserv, Inc.
                           255 Fiserv Drive
                           Brookfield, WI 53008-0979

Electronic copy provided to:                   Michael Gordan
                                               General Counsel

Entity:                                       Fiserv, Inc.
                                              Entity ID Number 2283508
Entity Served:                                Fiserv Inc.
Title of Action:                              Bessemer System Federal Credit Union vs. Fiserv Solutions, LLC f/k/a Fiserv
                                              Soutions, Inc.
Document(s) Type:                             Affidavit/Declaration
Nature of Action:                             Contract
Court/Agency:                                 Mercer County Court of Common Pleas, PA
Case/Reference No:                            2018-01130
Jurisdiction Served:                          Wisconsin
Date Served on CSC:                           05/20/2019
Answer or Appearance Due:                     Other/NA
Originally Served On:                         CSC
How Served:                                   Regular Mail
Sender Information:                           Richard J. Parks
                                              724-981-1397

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
            Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 4 of 8
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       IN THE COURT OF COMMON PLEAS OF MERCER COUNTY, PENNSYLVANIA

    BESSEMER SYSTEM FEDERAL                                CIVIL DIVISION
    CREDIT UNION, a not-for-profit federal
    credit union,                                         No.: 2018 - 01130

                   Plaintiff,

           LIPA

    FISERV SOLUT?ONS, LLC,: a Wisconsip_
    limited liability corporation f/k/a FISERV
    SOLUTIONS, INC., a Wisconsin
    corporation and FISERV, INC., a
    Wisconsin corporation,

                   Defendant.

                                        AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA )
                                                   ) SS
COUNTY OF MERCER                                   )

          Before me, the undersigned authority, a notary public in and for said County and State, personally
appeared John W. Kettering, who, being duly sworn according to law, deposes and states that a true and
correct copy of the Complaint filed at the above term and number was served upon the defendant, Fisery
Inc.., c/o Corporation Service Company Madison, WI 53717 by Federal Express with signature required,
as evidenced by the Receipt of Service attached hereto 95,Exhibit




                                              Ric rd7. Parks        I.D. No. 40 7)
                                              Jo W. Ketterin (Pa. LD. N. 16945)
                                              P TRAGALLO GORDO FANO
                                               LBOSICK & GORDON I
                                              7 West State Street, Suite
                                              Sharon, PA 16146
                                              (724) 981-1397
                                              Attorneys for Plaintiff
Sworn to and subscribed before me
this ~~of May, 2019. '


                                                Commonwealt          ylvania - Notary Seal
                                                       MARJII SER - Notary Public
                  Pub11C
                                                            Mercer County
                                                   My Commission Expires Dec 18, 2021
                                                      Commission Number 1263235
                   Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 5 of 8



                                                          775173983279



                                                      Delivered
                            Tuesday 5/14/2019 at 10:15 am



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                                                  Signed for by: J.LONG




                                                    GET STATUS UPDATES

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                           FROM                                                                  TO

    PIETRAGALLO GORDON AL.FANO BOS                                                   Corporation Service Company
                                                                                       MADISON, WI US 53717
                         Marjii Ser
                                                                                            608 824-7000
                7West State Street, Suite 100
                  Sharon; PA US 16146
                      724 981-1397




Shipment Facts

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TOTAL PIECES                            TOTAL SHIPMENT WEIGHT             TERMS
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SHIPPER REFERENCE                       PACKAGING                         SPECIAL HANDLING SECTION
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Travel History                                                    A                                   Local Scan Time   \.'
             Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 6 of 8
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        IN THE COURT OF COMMON PLEAS OF MERCER COUNTY, PENNSYLVANIA

     BESSEMER SYSTEM FEDERAL                            CIVIL DIVISION
     CREDIT UNION, a not-for-profit federal
     credit union,                                      No.: 2018 - 01130

                   Plaintiff,

            V.

     FISERV SOLLTTIONS, LLC, a Wisconsir.
     limited liability corporation f/k/a FISERV
     SOLUTIONS, INC., a Wisconsin
     corporation and FISERV, INC., a
     Wisconsin corporation,

                   Defendant.
                                      CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing Affidavit of Service has been
    served via First Class U.S. Mail, on ~ 1~ h0ft upon the following party:

    Richard W. Epstein                                       Andrew J. Wronski
    Ekker, Kuster, McCall & Epstein, LLP                     Elizabeth A.N. Haas
    68 Buhl Boulevard                                        Timothy J. Patterson
    PO Box 91                                                Foley & Lardner LLP
    Sharon, PA 16146-3706                                    777 East Wisconsin Avenue
    Counsel for Fisery Solutions LLC                         Milwaukee WI 53202-5306
                                                             Counsel for Fisery Solutions LLC
~
                                                             Corporation Service Company
                                                             8040 Excelsior Dr
                                                             Ste 400
                                                             Madison, WI 53717-2915
                                                             Agent for Fisery Inc.

                                                  PIETRAGALLO
                                                  BOSICK & RBf,

                                                  By_                  k-4
                                                  Richard . P rks, Esqu' (PA40477)
                                                  John    Ketteri ng, Es ire (PA 3 9 5)
                                                  7 Wes State Street, Suite 100
                                                  Sharon, PA 16146
                                                  724-981-1397
                                                  724-981-1398(fax)
                 Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 7 of 8

u




                                     CERTIFICATE OF COMPLIANCE


                I certify that this filing complies with the provisions of the Public Access Policy of the

    Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

    require filing confidential information and documents differently than non-confidential

    information and documents.


    Submitted by: J



    Name:

    Attorney No. (if applicable): 316945

                                 J

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                       Case 2:19-cv-00624-RJC Document 1-3 Filed 05/28/19 Page 8 of 8
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  PIETRAGALLO GORDON ALFANO
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                                             8040 Excelsior Dr
                                             Ste 400
                                             Madison, WI 53717-2915
